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                               UNITED STATES DISTRICT COURT
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                                                                                   EXHIBIT
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   UNITED STATES OF AM EM CA
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   A RM AN D O V A LEN CIA -C ORN ELIO ,

                Defendant.


                                      PLEA AGREEM ENT

          The United States ofAmerica and ARMANDO VALENCIA.CORNELIO (hereinaher
   referredtoastheiidefendanf')enterintothefollowingagreement:
                 ThedefendantagreestopleadguiltytocountIIlofthefourth supersedingindictm ent,

   which countchargeshim with conspiracy to im portcocaine, inviolation ofTitle21,United States

   Code,Section 963.

          2.     TheUnitedStatesagreestoseekdism issaloftherem ainingcotmtsoftheindictment,

   as to thisdefendant,aftersentencing.

          3.     The defendant is aware that his sentence will be im posed by the court after

   considering the FederalSentencing Guidelines and Policy Statements (hereinaheridsentencing
   Guidelines'').Thedefendantunderstandsthatthecourtwilldeterminehisadvisorysentencerange
   underthe Sentencing Guidelines,by relying in parton a Pre-sentencelnvestigation conducted by

   the court's Probation O ftice afler his guilty plea has been entered.   The defendant f'urther

   understandsthatthe courtisrequired to considertheSentencing Guidelinesadvisory range, butis

   notbound to imposethatsentence;the courtisperm itted to decide hissentencebased upon other
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    statutory concerns,and hissentencem ay beeitherm oresevere orlessseverethan theSentencing

    Guidelines'advisory range.Knowingthesefacts,thedefendantunderstandsthatthe courthasthe

    authorityto imposeany sentencewithinanduptothestatutorym axim um authorizedby 1aw forthe

   offenseidentifiedin paragraph 1andthatthedefendantmay notwithdraw hispleasolely asaresult

   ofthe sentence imposed.

          4.     Thedefendantunderstandsandacknowledgesthatthecourtm ayimposea m inimum

   term ofim prisonmentof10 years,andm ay impose astatutorym axim um term ofim prisonmentof

   up to life,followed by aterm ofsupervised release ofatleast5 years. ln addition to a term of

   imprisonm entand supervised release,the courtm ay impose afineofup to $4 m illion.
          5.     Thedefendantunderstandsthat,inadditiontoanysentenceim posedunderparagraph

   4 ofthisagreement,a specialassessm entin the am ountof$100 willbe im posed. Thedefendant

   agreesthatthespecialassessmentshallbe paid atthetimeofsentencing.

          6.     The United Statesreservestherightto inform the courtand the probation office of

   a11facts pertinentto the sentencing process,including a1lrelevantinform ation concem ing the

   offenses comrnitted, whether charged or not, as well as concerning the defendant and his

   background.Subjectonlytothetxpresstermsofany sentencingrecommendationscontainedinthis
   agreement,theUnited Statesfurtheireservestherighttomakeanyrecomm endationastothequality

   and quantity ofpunishm ent.

          7.     TheUnitedStatesandthedefendantjointlyagreetorecommendthatthedefendant
   beheld accountable foroffenseconductinvolving morethan 150 kilosofcocaineforthepum ose

   ofsentencingguidelinescomputationsunderGuidelinesSection 2D 1.1.




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           8.     TheUnited Statesagreestorecom mend atsentencing thatthecourtreduceby two

    levelsthe sentencing guideline levelapplicable to the defendant's offense,ptlrsuantto Section

    3E1.1(a)oftheSentencingGuidelines,baseduponthedefendant'saffirmativeandtimelyacceptance
   ofpersonalresponsibilityforhisoffense.lfthedefendant'sguidelinerangeislevel16 orabove,the

   United States willm ove foran additionalone-levelreduction pursuantto Sentencing Guideline

   Sedion3E1.1(b).TheUnitedStatesfurtheragreestorecopmendthatthedefendantbesentenced
   atthe1ow end oftheguidelinerange,asthatrangeisdeterminedbythecourt.However,theU nited

   Stateswillnotberequiredtomakethismotionorthesertcommendationsifthedtfendant:(1)fails
   orrefusesto m ake a1 11,accurateand complete disclosureto theProbation Oftk e ofhisrelevant

   offense conduct;(2)isfound to have misrepresented relevantfactsto the governmentpriorto
   entering into thisplea agreement;or(3)commitsany misconductafterentering into thisplea
   agreement;including butnotlimited to com mitting astateorfederaloffense,violatingany term of

   release,ormaking false statem entsorm isrepresentationsto any governm ententity orofficial.

          9.     TheUnited Statesand thedefendantagreethattheywillnotseek asentencethatis

   outside oftheapplicable Sentencing Guidelinesrangedeterm ined by the court, exceptasm ay be

   provided inthisagreem ent.

          10.    ThedefendantunderstandsthatifheisnotUnited Statescitizen,hisconviction for

   thisoffensem ay resultinhisprobableorm andatoryrem ovalordeportationfrom theUnited States

   attheexpiration ofhisterm ofimprisonm ent.Removaland deportation proceedings areentirely

   separatem attersfrom thiscase,and neitherthtcourtnorcounstlforeitherparty can be certain of

   the effect on the defendant's imm igration status of his guilty plea.The defendantnevertheless

   affirmsthathewantstopleadguiltyevenifthisresultsinhisautom aticrem ovalandexclusion from
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   theUnited States.

                 Thedefendantisawarethathissentencehasnotyetbeen determ ined by the court.

   Thedefendantalso isawarethatany estimateoftheprobable sentencing range orsentencethathe

   m ayreceive,whetherthatestimatecom esfrom hisattorney,thegovernm ent,ortheProbationOffce,

   isaprediction,notaprom ise,and isnotbinding on the governm ent, the Probation Office,orthe

   court.Thedefendantfurtherunderstandsthatany recom mendation thatthegovernm entm akesto

   thecourtasto sentencing,whetherpursuantto thisagreementorotherwise, isnotbinding on the

   courtand thecourtmay disregard the recomm endation in itsentirety. The defendantunderstands

   thathe may notwithdraw his guilty plea even if the courtdeclines to acceptany motions or

   recomm endation m adeon hisbehalf.

          12.     Thisistheentireagreementand understanding between theUnited Statesand the

   defendant.Thereare no otheragreements, prom ises,representations,orunderstandings.


                                     W IFREDO A.FERRER
                                     UNITED STATES ATTORNEY


   Date:/o-zJ-ra-             By:          r       o.,d *' .        xA x  -

                                     FM NK H.TAM EN
                                     ASSISTANT UNITED STATES ATTORNEY



   Date:/Q .*1 -l>-           By:
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                                     ATT RN k        O DEFENDANT

   Date: 1* .15''?>-          sy,z-  ls o: 4 1.4. 6,= 6 q.
                                 ARMANDO VALENCIA-CUA LLI:
                                     DEFEN DANT

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